Case 2:15-cv-04726-TJS   Document 13-1   Filed 10/09/15   Page 1 of 28




                         Exhibit A
                             Case 2:15-cv-04726-TJS
                                Case 2:15-cv-04726-TJSDocument
                                                       Document13-1   Filed
                                                                 1 Filed    10/09/15Page
                                                                          08/18/15     Page
                                                                                         1 of227
                                                                                               of 28
JS 44 (Rev. 12/12)
                                                                                CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON Nl'X/PAGE, 01- 'i'Hli FORA'!.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
            Sandy Ricketts                                                                                  Bieber Time Touring, LLC, Bieber Time Merchandise, LLC, Justin Bieber, and
                                                                                                            Patricia Mallette, c/o TSG Financial Management, LLC

    (b) County of Residence of First Listed Plaintiff                      Somers Point, NJ                 County of Residence of First Listed Defendant                            Atlanta, GA
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                          (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:                       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.

    (c) Attorney's (Sirm Name, Address, and Telephone Number)                                               Attorneys (If Known)

          Jeffrey R. Lessin, Esquire/Mark T. Richter, Esquire                                               Andrew F. Susko, Esquire/Daniel J. Ferhat, Esquire (215) 864-6228/6297
          Jeffrey R. Lessin & Associates, P.0                                                               White and Williams LLP
          1515 Market Street, Ste 714 Phila., PA 19102 (215) 599-1400                                       1650 Market St., One Liberty Place, Ste 1800, Phila., PA 19103
II. BASIS OF JURISDICTION                       (Place an "X" in One Box Only)                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "I!" in One Box far Plaintiff
                                                                                                          ('Ear Diversity Cases Only)                                      and One Box for Defendant)
❑ I.    U.S. Government                ❑ 3     Federal Question                                                                          PTF     DEF                                           PTF       DEF
           Plaintiff                            (U.S. Government Not a Party)                        Citizen of This State               ❑ I     ❑ 1      Incorporated or Principal Place      ❑ 4       ❑ 4
                                                                                                                                                          of Business In This State

                                               Diversity                                             Citizen of Another State            ® 2     E2       Incorporated and Principal Place     ❑ 5       ® 5
❑ 2.    U.S. Government                ®4
                                                                                                                                                          of Business In Another State
            Defendant                           (Indicate Citizenship of Parties in Item iIi)
                                                                                                     Citizen or Subject of a             ❑ 3     ❑ 3      Foreign Nation                       ❑ 6       ❑ 6
                                                                                                        Foreign Country

IV NATURE OF SUIT (I'lace an "X" in One Hear Only)
                                                                TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                        OTHER STATUTES
          CONTRACT
                                        PERSONAL INJURY                   PERSONAL INJURY             ❑ 625 Drug Related Seizure           ❑ 422 Appeal 28 USC 158             ❑ 375 False Claims Act
❑ 110 Insurance
                                     ❑ 310 Airplane                     ❑ 365 Personal Injury -             of Property 21 USC 881         ❑ 423 Withdrawal                    ❑ 400 State Reapportionment
❑ 120 Marine
                                     ❑ 315 Airplane Product                    Product Liability      ❑ 690 Other                                28 USC 157                    ❑ 410 Antitrust
❑ 130 Miller Act
                                           Liability                    ❑ 367 Health Care/                                                                                     ❑ 430 Banks and Banking
❑ 140 Negotiable Instrument
                                     ❑ 320 Assault, Libel &                    Pharmaceutical                                               ". PROPERTY RIGHTS                 ❑ 450 Commerce
❑ 150 Recovery of Overpayment
                                           Slander                             Personal Injury                                             ❑ 820 Copyrights                    ❑ 460 Deportation
      & Enforcement of Judgment                                                                                                                                                ❑ 470 Racketeer Influenced and
                                     ❑ 330 Federal Employers'                  Product Liability                                           ❑ 830 Patent
❑ 151 Medicare Act                                                                                                                                                                    Corrupt Organizations
                                           Liability                    ❑ 368 Asbestos Personal                                            ❑ 840 Trademark
❑ 152 Recovery of Defaulted                                                                                                                                                    ❑ 480 Consumer Credit
      Student Loans                  ❑ 340 Marine                              Injury Product
                                     ❑ 345 Marine Product                      Liability                          LABOR                         SOCIAL SECURITY                ❑ 490 Cable/Sat TV
      (Excl. Veterans)
                                            Liability                    PERSONAL PROPERTY            ❑ 710 Fair Labor Standards          - ❑ 861 HIA (13956)                  ❑ 850 Securities/Commodities/
❑ 153 Recovery ofOvepayment                                                                                                                                                           Exchange
      of Veteran's Benefits          ❑ 350 Motor Vehicle                ❑ 370 Other Fraud                   Act                             ❑ 862 Black Lung (923)
                                                                        ❑ 371 Truth in Lending        ❑ 720 Labor/Mgmt. Relations           ❑ 863 DIWC/DIW W (405(g))          ❑ 890 Other Statutory Actions
❑ 160 Stockholders' Suits            ❑ 355 Motor Vehicle
                                                                        ❑ 380 Other Personal          ❑ 740 Railway Labor Act               ❑ 864 SSID Title XVI               ❑ 891 Agricultural Acts
❑ 190 Other Contract                        Product Liability
                                                                               Property Damage        ❑ 751 Family and Medical              ❑ 865 RSI (405(g))                 ❑ 893 Environmental Matters
❑ 195 Contract Product Liability     ® 360 Other Personal
                                                                        ❑ 385 Property Damage                Leave Act                                                         ❑ 895 Freedom of Information
❑ 196 Franchise                             Injury
                                                                               Product Liability      ❑ 790 Other Labor Litigation                                                    Act
                                     ❑ 362 Personal Injury -
                                                                                                      ❑ 791 Empl. Ret. Inc.                                                    ❑ 896 Arbitration
                                           Med. Malpractice
                                                                        PRISONER PETITIONS                     Security Act                     FEDERAL TAX SUITS              ❑ 899 Administrative Procedure
       REAL PROPERTY                         C'I\'IL RIGHTS
                                                                                                                                           ❑ 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
❑ 210 Land Condemnation               ❑ 440 Other Civil Rights            Habeas Corpus:
                                                                                                                                                  or Defendant)                       Agency Decision
❑ 220 Foreclosure                     ❑ 441 Voting                      ❑ 463 Alien Detainee
                                                                        ❑ 510 Motions to Vacate                                            ❑ 871 IRS—Third Party               ❑ 950 Constitutionality of
❑ 230 Rent Lease & Ejectment          ❑ 442 Employment
                                                                              Sentence                                                            26 USC 7609                         State Statutes
❑ 240 Torts to Land                   ❑ 443 Housing/
❑ 245 Tort Product Liability                 Accommodations             ❑ 530 General                        iMMIGRATION
❑ 290 All Other Real Property         ❑ 445 Amer. w/Disabilities -      ❑ 535 Death Penalty           ❑ 462 Naturalization Application
                                             Employment                   Other                       ❑ 465 Other Immigration
                                      ❑ 446 Amer. w/Disabilities -      ❑ 540 Mandamus & Other              Actions
                                            Other                       ❑ 550 Civil Rights
                                      ❑ 448 Education                   ❑ 555 Prison Condition
                                                                        ❑ 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

 V. ORIGIN                   (Place at "X" in One Box On(S
 ❑ 1 Original             E2       Removed from              ❑3       Remanded from             ❑4   Reinstated or             ❑ 5 Transferred from           ❑ 6 Multidistrict
                                                                      Appellate Court                Reopened                        Another District             Litigation
         Proceeding                State Court
                                                                                                                                     (Specify)
                                         Cite the U.S. Civil Statute tinder which you are filing (Do not cite jurisdiction .statutes unless diversity):
                                         28 U.S.C. Section 1332(a)(1) and Section 1441(a)
 VI. CAUSE OF ACTION                     Brief description of cause:
                                         Premises liability/negligence. Court has subject matter jurisdiction because there is diversity of citizenship and because the matter in
                                                 controversy exceeds the sum or value of $75,000.00,
                                                                                                          DEMANDS                                   CHECK YES only if demanded in complaint:
 VII. REQUESTED IN                        ❑    CHECK IF THiS IS A CLASS ACTION
      COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                             JURY DEMAND:         E Yes ❑ No

 VIII. RELATED CASE(S)                           (Sec hrsn "coons):
                                                                        JUDGE                                                                  DOCKET NUMBER
       IF ANY
 DATE                                                                        SIGNAT E OF A OR Y 0 EC D

 8-18 -15                                                                                            y

 FOR OFFICE USE ONLY


                                                                                 APPLYING IFP                                   JUDGE                             MAO. JUDGE
       RECEIPT #                          AMOUNT


15806248v. I
                    Case 2:15-cv-04726-TJS
                       Case 2:15-cv-04726-TJSDocument
                                              Document13-1   Filed
                                                        1 Filed    10/09/15Page
                                                                 08/18/15     Page
                                                                                2 of327
                                                                                      of 28
                                                                 UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff: Sandy Ricketts, 514 Fifth Street, Somers Point, NJ 08244

Address of Defendant: Bieber Time Touring, LLC, c/o TSG Financial Management, LLC, 133 Peachtree Street, Suite 4070, Atlanta, GA 30303

Place of Accident, Incident or Transaction: Philadelphia, PA
                                                                          (Use Reverse Side for Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a)).                                     Yes ® No ❑


Does this case involve multidistrict litigation possibilities?                                                                     Yes ❑      No

RELATED CASE IF ANY:

Case Number:                                                                                 Date Terminated:

Civil cases are deemed related when yes is answered to any of the following questions:

I. Is this case related to property included in earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                           Yes ❑ No

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?                                                                                                      Yes ❑ No

3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
   terminated action in this court?                                                                                           Yes ❑ No

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                 Yes ❑        No

CIVIL: (Place ❑
              x in ONE CATEGORY ONLY)

A. Federal Question Cases:                                                                                 B. Diversity Jurisdiction Cases:

1. ❑ Indemnity Contract, Marine Contract, and All Other Contracts                                           I.   ❑ Insurance Contract and Other Contracts

2. ❑ FELA                                                                                                  2. ❑ Airplane Personal Injury

3. ❑ Jones Act-Personal Injury                                                                             3. ❑ Assault, Defamation

4. ❑ Antitrust                                                                                             4. ❑ Marine Personal Injury

5. ❑ Patent                                                                                                5. ❑ Motor Vehicle Personal Injury

6. ❑ Labor-Management Relations                                                                            6. ® Other Personal Injury (Please specify) Premises liability
                                                                                                              (not to exceed $150,000.00)
7. ❑ Civil Rights
                                                                                                           7. ❑ Products Liability
8. ❑ Habeas Corpus
                                                                                                            8. ❑ Products Liability — Asbestos
9. ❑ Security Act(s) Cases
                                                                                                           9. ❑ All Other Diversity Cases
 10. ❑ Social Security Review Cases                                                                             (Please specify)

 11. ❑ All other Federal Question Cases
       (please specify)

                                                                   ARBITRATION CERTIFICATION
                                                                            (Check appropriate categoi))
 I, Andrew F. Susko/Daniel J. Ferhat                             , counsel of record do hereby certify:

    ❑ Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
 $150,000.00 exclusive of interest and costs;

     ❑ Relief other than monetary damages is sought.

                                                            Andrew F. Susko/Daniel J. Ferhat                                                        35664/89174
 DATE:             8/18/15
                                                                   Attorney-at-Law                                                                 Attorney I.D. #

                                         NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.
 I certify that, to niy knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
 except as noted above.

                                                            Andrew F. Susko/Daniel J. Ferhat                                                        35664/89174
 DATE:             8/18/15
                                                                   Attorney-at-Law                                                                 Attorney I.D.

 CIV. 609 (5/2012)


 15806353v.1
                    Case 2:15-cv-04726-TJS
                       Case 2:15-cv-04726-TJSDocument
                                              Document13-1   Filed
                                                        1 Filed    10/09/15Page
                                                                 08/18/15     Page
                                                                                3 of427
                                                                                      of 28
                                                                 UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff: Sandy Ricketts, 514 Fifth Street, Somers Point, NJ 08244

Address of Defendant: Bieber Time Touring, LLC, c/o TSG Financial Management, LLC, 133 Peachtree Street, Suite 4070, Atlanta, GA 30303

Place of Accident, Incident or Transaction: Philadelphia, PA
                                                                                Reverse Side for Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a)).                                     Yes ® No ❑

Does this case involve multidistrict litigation possibilities?                                                                     Yes ❑      No

RELA TED CASE IF ANY:

Case Number:                                       Judge                                      Date Terminated:

Civil cases are deemed related when yes is answered to any of the following questions:

I. Is this case related to property included in earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                           Yes ❑ No

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?                                                                                                      Yes ❑ No

3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
   terminated action in this court?                                                                                           Yes ❑ No

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                 Yes ❑        No

CIVIL: (Place El in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                                  B. DiversityJurisdiction Cases:

1. ❑ Indemnity Contract, Marine Contract, and All Other Contracts                                           1. ❑ Insurance Contract and Other Contracts

2. ❑ FELA                                                                                                   2. ❑ Airplane Personal Injury

3. ❑ Jones Act-Personal Injury                                                                              3. ❑ Assault, Defamation

4. ❑ Antitrust                                                                                              4. ❑ Marine Personal Injury

5. ❑ Patent                                                                                                 5. ❑ Motor Vehicle Personal Injury

6. ❑ Labor-Management Relations                                                                             6. ® Other Personal Injury (Please specify) Premises liability
                                                                                                               (not to exceed $150,000.00)
7. ❑ Civil Rights
                                                                                                            7. ❑ Products Liability
8. ❑ Habeas Corpus
                                                                                                            8. ❑ Products Liability — Asbestos
9. ❑ Security Act(s) Cases
                                                                                                            9. ❑ All Other Diversity Cases
10. ❑ Social Security Review Cases                                                                               (Please specify)
II. ❑ All other Federal Question Cases
      (please specify)

                                                                   ARBITRATION CERTIFICATION
                                                                             (Check appropriate category)
I, Andrew F. Susko/Daniel J. Ferhat                              , counsel of record do hereby certify:

   ❑ Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
    ❑ Relief other than monetary damages is sought.

DATE:             8/18/15                                   Andrew F. Susko/Daniel J. Ferhat                                                        35664/89174
                                                                   Attorney-at-Law                                                                 Attorney I.D. #

                                         NOTE: A trial de nova will be a trial by jury only if there has been compliance with F.R.C. P. 38.
i certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE:              8/18/15                                  Andrew F. Susko/Daniel J. Ferhat                                                        35664/89174
                                                                                       ......_.__
                                                                   Attorney-at-Law                                                                 Attorney I.D. #

CIV. 609 (5/2012)


 15806353v.1.
        Case 2:15-cv-04726-TJS
           Case 2:15-cv-04726-TJSDocument
                                  Document13-1   Filed
                                            1 Filed    10/09/15Page
                                                     08/18/15     Page
                                                                    4 of527
                                                                          of 28


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIGNATION FORM

Sandy Ricketts                                                    CIVIL ACTION

                         V.

Bieber Time Touring, LLC, Bieber Time
Merchandise , LLC, Justin Bieber, and                             NO.
Patricia Mallette

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus — Cases brought under 28 U.S.C. §2241 through §2255.                                 ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health                 ( )
    and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2.          (x)

(d) Asbestos — Cases involving claims for personal injury or property damage from                      ( )
    exposure to asbestos.

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are                   ( )
    commonly referred to as complex and that need special or intense management by
     the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f)    Standard Management -- Cases that do not fall into any one of the other tracks.                 ( )

8-18-15                           Andrew F. Susko/                   Defendants
                                  Daniel J. Ferhat
Date                              Attorney-at-law                    Attorney for Defendants

215-864-6228/6297                 (215) 789-7528                     suskoa@whiteandwilliams.com
                                                                     ferhatd@whiteandwilliams.com
Telephone                         Fax Number                         E-mail Address



(Civ. 660) 10/02




 15806442v. I
       Case 2:15-cv-04726-TJS
          Case 2:15-cv-04726-TJSDocument
                                 Document13-1   Filed
                                           1 Filed    10/09/15Page
                                                    08/18/15     Page
                                                                   5 of627
                                                                         of 28



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SANDY RICKETTS                                         : CIVIL ACTION
                               Plaintiff,
        1s


BIEBER TIME TOURING, LLC, c/o TSG                      :   NO:
FINANCIAL MANAGEMENT, LLC; BIEBER
TIME MERCHANDISE, LLC, c/o TSG
FINANCIAL MANAGEMENT, LLC; JUSTIN
BIEBER, c/o TSG FINANCIAL MANAGEMENT,:
LLC; AND PATRICIA MALLETTE, c/o TSG
FINANCIAL MANAGEMENT, LLC
                       Defendants.


                                     NOTICE OFREMOVAL

TO THE HONORABLE JUDGES OF THE SAID DISTRICT COURT OF THE UNITED
STATES:
         Defendants, Bieber Time Touring, LLC, c/o TSG Financial Management, LLC; Bieber

Time Merchandise, LLC, c/o TSG Financial Management, LLC; Justin Bieber, c/o TSG

Financial Management, LLC; and Patricia Mallette, c/o TSG Financial Management, LLC, in the

above-captioned matter file this Notice of Removal of the case from the Court of Common Pleas

of Philadelphia County, in which it is now pending, to the United States District Court for the

Eastern District of Pennsylvania, and in support thereof, aver as follows:

          1.    This premises liability action was commenced, on July 8, 2015, by way of

Complaint filed in the Court of Common Pleas of Philadelphia County, Pennsylvania and

docketed as No. 150700613, July Term 2015, No. 00613. A copy of the Complaint is attached

hereto and marked as Exhibit "A".

          2.    Defendants were served a copy of the Complaint via certified mail on July 20,

2015. Copies of the Affidavits of Service referable to each Defendant are attached hereto

collectively as Exhibit "B".


 158067 19v.1
      Case 2:15-cv-04726-TJS
         Case 2:15-cv-04726-TJSDocument
                                Document13-1   Filed
                                          1 Filed    10/09/15Page
                                                   08/18/15     Page
                                                                  6 of727
                                                                        of 28



        3.       Defendants hereby exercise their rights under the provisions of 28 U.S.C. §1441,

et seq., and based on complete diversity of citizenship between the parties, to remove this action

from the Court of Common Pleas of Philadelphia County, Pennsylvania, in which this case is

presently pending.

        4.       Plaintiff alleges in the Complaint that Defendants failed to maintain their

premises in a safe condition which resulted in a fall and caused serious personal injuries.

Plaintiff filed this case as a major jury, non-arbitration, matter seeking damages for past and

future pain and suffering, past and future medical bills, and damages for personal injuries

identified in more detail in paragraph 5 below.

                 Specifically, Plaintiff alleges in the Complaint that she "suffered severe and

permanent injuries to her person, including but not limited to: left scaphoid fracture; a laceration

of her lower lip requiring surgical repair; contusions and sprains of her left wrist and hand;

injuries to her teeth; nervous shock and aggravation and/or exacerbation of all known and

unknown preexisting medical conditions." Plaintiff seeks damages in her Complaint in excess

of $50,000.00.

         6.      The present lawsuit is removable from the state court to the United States District

Court for the Eastern District of Pennsylvania pursuant to 28 U.S.C. §1332(a)(1) and §1441(a)

because the controversy in this action is between Plaintiff, a citizen of the State of New Jersey,

and Defendants, all of whom are citizens of a foreign state. Diversity is established as follows:

                 (a)     Plaintiff, Sandy Ricketts, resides at 514 Fifth Street, Somers Point, New

                         Jersey, and, therefore, is a citizen of the State of New Jersey.




 15806719v.1
     Case 2:15-cv-04726-TJS
        Case 2:15-cv-04726-TJSDocument
                               Document13-1   Filed
                                         1 Filed    10/09/15Page
                                                  08/18/15     Page
                                                                 7 of827
                                                                       of 28




              (b)     Bieber Time Touring, LLC, c/o TSG Financial Management, LLC was a

                      Delaware corporation at all times material hereto with its principal place

                      of business located in the State of Georgia.

              (c)     Bieber Time Merchandise, LLC, c/o TSG Financial Management, LLC

                      was a Delaware corporation at all times material hereto with its principal

                      place of business located in the State of Georgia.

               (d)    Justin Bieber, c/o TSG Financial Management, LLC, is a citizen of the

                       State of California.

               (e)    Patricia Mallette, c/o TSG Financial Management, LLC, is a citizen

                       Ontario, Canada.

       7.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332, because there is diversity of citizenship and because the allegations of the Complaint,

including damages sought by Plaintiff, reveal that the matter in controversy exceeds the sum or

value of $75,000.00, exclusive of costs.

        8.     Pursuant to the provisions of 28 U.S.C. § 1446(a), Defendants have attached

herewith and incorporate by reference a copy of the Complaint filed in the Philadelphia Court of

Common Pleas in this action.

        9.     Defendants will provide immediate notice of the filing of this Notice to Plaintiff

as required by 28 U.S.C. § 1446(d).

        10.    Defendants will file a certified copy of this Notice with the Prothonotary of the

Court of Common Pleas of Philadelphia County as required by 28 U.S.C. § 1446(d).




15806719v.1
      Case 2:15-cv-04726-TJS
         Case 2:15-cv-04726-TJSDocument
                                Document13-1   Filed
                                          1 Filed    10/09/15Page
                                                   08/18/15     Page
                                                                  8 of927
                                                                        of 28




        WHEREFORE, Defendants request that the action presently pending in the Court of

Common Pleas of Philadelphia County be removed to the United States District Court for the

Eastern District of Pennsylvania.




                                                          WHITE AND WILLIAMS LLP
                                                          Attorneys for Defendants

                                                    By: AFS 3209
                                                         Andrew F. Susko, Esquire
                                                         Daniel J. Ferhat, Esquire
                                                         Attorney I.D. No. 35664/89174
                                                         1650 Market Street
                                                         One Liberty Place, Suite 1800
                                                         Philadelphia, PA 19103-7395
                                                          (215) 864-6228 /6297
                                                          suskoa (x whiteandwilliams.com
                                                          ferhatd(ct~ whiteandwilliams.com

Dated: August 18, 2015




 15806676v.1
     Case 2:15-cv-04726-TJS
        Case  2:15-cv-04726-TJSDocument 13-1
                                 Document     Filed08/18/15
                                          1 Filed   10/09/15 Page
                                                               Page
                                                                  9 of1027of 28



                      IN THE UNITED STA TES DISTRICT CO UR T
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SANDYRICKETTS                                         : CIVIL ACTION
                              Plaintiff,
        v   .




BIEBER TIME TOURING, LLC, c/o TSG                        NO:
FINANCIAL MANAGEMENT, LLC; BIEBER
TIME MERCHANDISE, LLC, c/o TSG
FINANCIAL MANAGEMENT, LLC; JUSTIN
BIEBER, c/o TSG FINANCIAL MANAGEMENT,:
LLC; AND PATRICIA MALLETTE, c/o TSG
FINANCIAL MANAGEMENT, LLC
                       Defendants.

                                     NOTICE TO PLAINTIFF


TO: Sandy Rickets, c/o
     Jeffrey R. Lessin, Esquire
     Mark T. Richter, Esquire
     1515 Market Street, Suite 714
     Philadelphia, PA 19102

        PLEASE take notice that Defendants have filed a Notice in the United States District

Court for the Eastern District of Pennsylvania for removal of an action now pending in the Court

of Common Pleas of Philadelphia, Pennsylvania, captioned Sandy Rickets v. Bieber Time

Touring, LLC, c/o TSG Financial Management, LLC, et al. , July term, 2015, No. 00613

         FURTHER, take notice that the Defendants have at the same time filed electronically

with the United States District Court for the Eastern District of Pennsylvania a copy of the

Complaint which was filed and entered in the Court of Common Pleas of Philadelphia County.

A copy of said Notice of Removal is attached to this Notice and is hereby served upon you.




 15806719v.1
     Case 2:15-cv-04726-TJS
        Case 2:15-cv-04726-TJSDocument
                               Document13-1   Filed
                                         1 Filed    10/09/15Page
                                                  08/18/15     Page 1127
                                                                 10 of of 28



                                                  WHITE AND WILLIAMS LLP
                                                  Attorneys for Defendants


                                             By: AFS 3209
                                                  Andrew F. Susko, Esquire
                                                  Daniel J. Ferhat, Esquire
                                                  Attorney I.D. No. 35664/89174
                                                  1650 Market Street
                                                  One Liberty Place, Suite 1800
                                                  Philadelphia, PA 19103-7395
                                                  (215) 864-6228 /6297
                                                  suskoa@whiteandwilliams.com
                                                  ferhatd@whiteandwiIliarns.com
Dated: August 18, 2015




 15806719v.1
     Case 2:15-cv-04726-TJS
        Case 2:15-cv-04726-TJSDocument
                               Document13-1   Filed
                                         1 Filed    10/09/15Page
                                                  08/18/15     Page 1227
                                                                 11 of of 28



                      IN THE UNITED STA TES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SANDYRICKETTS                                          : CIVIL ACTION
                              Plaintiff,
        V.


BIEBER TIME TOURING, LLC, c/o TSG      :                  NO:
FINANCIAL MANAGEMENT, LLC; BIEBER
TIME MERCHANDISE, LLC, c% TSG
FINANCIAL MANAGEMENT, LLC; JUSTIN
BIEBER, c/o TSG FINANCIAL MANAGEMENT,:
LLC; AND PATRICIA MALLETTE, c/o TSG
FINANCIAL MANAGEMENT, LLC
                       Defendants.


                                       PROOF OF FILING

TO THE CLERK OF THE COURT:

        Andrew F. Susko, Esquire, hereby certifies that a copy of the foregoing Notice of

Removal will be filed with the Prothonotary of the Philadelphia County Court of Common Pleas

immediately upon receipt of the electronic filing from the United States District Court for the

Eastern District of Pennsylvania.
                                                              WHITE AND WILLIAMS LLP
                                                              Attorneys for Defendants



                                                        By: AFS 3209
                                                             Andrew F. Susko, Esquire
                                                             Daniel J. Ferhat, Esquire
                                                             Attorney I.D. No. 35664/89174
                                                             1650 Market Street
                                                             One Liberty Place, Suite 1800
                                                             Philadelphia, PA 19103-7395
                                                             (215) 864 -6228 / 6297
                                                             suskoa(äiwhiteandwilliarnS.cOm
                                                             ferhatd a whiteandwilliams.com
Dated: August 18, 2015




 15806719v.1
      Case 2:15-cv-04726-TJS
         Case 2:15-cv-04726-TJSDocument
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                                          1 Filed    10/09/15Page
                                                   08/18/15     Page 1327
                                                                  12 of of 28



                                       VERIFICATION


        Andrew F. Susko, Esquire, hereby states that he is an attorney for Defendants, Bieber

Time Touring, LLC, c/o TSG Financial Management, LLC; Bieber Time Merchandise, LLC, c/o

TSG Financial Management, LLC; Justin Bieber, c/o TSG Financial Management, LLC; and

Patricia Mallette, c/o TSG Financial Management, LLC, in the within action and verifies that the

statements made in the foregoing Notice of Removal are true and correct to the best of his

knowledge, information and belief. The undersigned understands that the statements therein are

made subject to the penalties of 18 Pa. C.S.A. §4904 relating to unsworn falsification to

authorities.


                                             AFS 3209
                                             Andrew F. Susko, Esquire


Dated: August 18, 2015




 15806719v.1
     Case 2:15-cv-04726-TJS
        Case 2:15-cv-04726-TJSDocument
                               Document13-1   Filed
                                         1 Filed    10/09/15Page
                                                  08/18/15     Page 1427
                                                                 13 of of 28




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SANDY RICKETTS                                            CIVIL ACTION
                              Plaintiff,
       V.


BIEBER TIME TOURING, LLC, c/o TSG        : NO:
FINANCIAL MANAGEMENT, LLC; BIEBER
TIME MERCHANDISE, LLC, c/o TSG
FINANCIAL MANAGEMENT, LLC; JUSTIN
BIEBER, c/o TSG FINANCIAL MANAGEMENT,:
LLC; AND PATRICIA MALLETTE, c/o TSG
FINANCIAL MANAGEMENT, LLC
                       Defendants.
                         CERTIFICATE OF S E R VICE

        I, Andrew F. Susko, Esquire, hereby certify that true and correct copy of the foregoing

Notice of Removal was filed with the Clerk on this date and a true and correct copy has been

mailed via first class mail to the following counsel of record:

                                         Jeffrey R. Lessin, Esquire
                                         Mark T. Richter, Esquire
                                   Jeffrey R. Lessin & Associates, P.C.
                                       1515 Market Street, Suite 714
                                          Philadelphia, PA 19102

                                                              WHITE AND WILLIAMS LLP
                                                              Attorneys for Defendants

                                                        By: AFS 3209
                                                             Andrew F. Susko, Esquire
                                                             Daniel J. Ferhat, Esquire
                                                             Attorney I.D. No. 35664/89174
                                                             1650 Market Street
                                                             One Liberty Place, Suite 1800
                                                             Philadelphia, PA 19103-7395
                                                             (215) 864-6228 / 6297
                                                                  suskoa aiwhiteandwilliams.com
                                                                  ferhatd a whiteandwilliams.com



Dated: August 18, 2015



 15806719v.1
Case 2:15-cv-04726-TJS
   Case 2:15-cv-04726-TJSDocument
                          Document13-1   Filed
                                    1 Filed    10/09/15Page
                                             08/18/15     Page 1527
                                                            14 of of 28




             EXHIBIT "A"
            Case 2:15-cv-04726-TJS
               Case 2:15-cv-04726-TJSDocument
                                      Document13-1   Filed
                                                1 Filed    10/09/15Page
                                                         08/18/15     Page 1627
                                                                        15 of of 28



        JEFFREY R. LESSIN & ASSOCIATES, P.C.                     This is NOT an ARBITRATION MATTER.
        8Y: JEFFREY R. LESSIN, ESQUIRE                           ASSESSMENT OF DAMAGES REQUIRED.
        I.D. #: 43801                                           JURY TRIAL DEMANDED
        BY: MARK T. RICHTER, ESQUIRE                                                                                   orF~
                                                                                                        '< ~tL` G1 ~
        I.D. #: 45195
                                                                                                   ed
        1515 MARKET STREET, SUITE 714
         PHILADELPHIA, PA 19102
        215 - 599 -1400                                            ATTORNEYS FOR PLA
         CAA1r1v I &'LCETTS                                        COURT OF COMMOt,
         514 Fifth Street                                          OF PHILADELPHIA C
         Somers Point New Jersey 08244
                vs.
         BIEBER TIME TOURING, LLC                                : JULY TERM, 2015
         c/o TSG FINANCIAL MANAGEMENT, LLC
         133 Peachtreet Street, Suite 4070
         Atlanta, GA 30303
                  and
         BIEBER TIME MERCHANDISE, LLC
         c/o TSG FINANCIAL MANAGEMENT, LLC
         133 Peachtreet Street, Suite 4070
         Atlanta, GA 30303
                   and
         JUSTIN BIEBER
         c/o TSG FINANCIAL MANAGEMENT, LLC
         133 Peachtreet Street, Suite 4070
         Atlanta, GA 30303
                    and
         PATRICIA MALLETTE
         c/o TSG FINANCIAL MANAGEMENT, LLC
         133 Peachtreet Street, Suite 4070
         Atlanta, GA 30303

                                CIVIL ACTION - COMPLAINT - NOTICE TO DEFEND
                                   2S - PREMISES LIABILITY- SLIP AND FALL
                                                      NOTICE TO DEFEND

YOU HAVE BEEN SUED IN COURT, IF YOU WISH TO DEFEND
                                                                 LE HAN DEMANDADO A LISTED EN LA CORTE. SI LISTED QUIERE
AGAINST THE CLAIMS SET FORTH IN THE FOLLOWING PAGES, YOU         DEFENDERSE DE ESTAS DEMANDAS EXPUESTAS EN LAS PAGINA
                                                                 SIGUIENTES, LISTED TIENE VIENTE (20) DIAS, DE PLAZO AL PARTIR DE LA
MUST TAKE ACTION WITHIN TWENTY (20) DAYS AFTER THIS
COMPLAINT AND NOTICE ARE SERVED, BY ENTERING A WRITTEN           FECHA DE LA DEMANDA Y LA NOTIFICATION. HACE FALTA ASENTAR
APPEARANCE PERSONALLY OR BY AN ATTORNEY AND FILING IN            UNA COMPARENCIA ESCRITA O EN FORMA ESCRITA SUS DEFNSAS 0
WRITING WITH THE COURT YOUR DEFENSES OR OBJECTIONS TO            SUS OBJECIONES A LAS DEMANDAS EN CONTRA DE SU PERSONA. SEA
THE CLAIMS SET FORTH AGAINST YOU. YOU ARE WARNED THAT IF         AVISADO QUE SI LISTED NO SE DEFIENDE, LACORTE TOMARA MEDIDAS
YOU FAIL TO DO SO THE CASE MAY PROCEED WITHOUT YOU AND           Y PU EDE CONTINUAR LA DEMANDA EN CONTRA SUYA SIN PREVIO AVISO
A JUDGMENT MAY BE ENTERED AGAINST YOU BY THE COURT               0 NOTIFICACION ADEMAS, LA CORTE PUEDE DICIDIR A FAVOR DEL
WITHOUT FURTHER NOTICE FOR ANY MONEY CLAIMED OR FOR
                                                                 DEMANDANTE Y REQUIERE QUE LISTED CUMPLA CON TOGAS LAS
ANY OTHER CLAIM OR RELIEF REQUESTED BY THE PLAINTIFF. YOU
                                                                 PROVISIONES DE ESTA DEMANDA. LISTED PUEDE PERDER DINERO 0
                                                                 SUS PROPIEDADES 0 OTROS DERECHOS IMPORTANTED PARA LISTED.
MAY LOSE MONEY OR PROPERTY OR OTHER RIGHTS IMPORTANT
                                                                 LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATEMENTE. SI NO
TO YOU. YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT
                                                                 TIENE ABOGADO O Sl O TIENE EL DINERO SUFICIENTE DE TELEFONO A
ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT AFFORD               LA OFICINA CUYA DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA
ONE, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW TO            AVERIGUAR DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL
FIND OUT WHERE YOU CAN GET LEGAL HELP.
                Philadelphia Bar Association                                    Asociacion de Liceneados de Filadelphia
            Lawyer Referral and Information Service                            Servicio de Referenda e Informacion Legal
                    One Reading Center                                                    One Reading Center
              Philadelphia, Pennsylvania 19107                                      Filadelphia, Pennsylvania 19107
                       (215) 238-1701                                                        (215) 238-1701

                                                                                                               Case TD: 150700613
 Case 2:15-cv-04726-TJS
    Case 2:15-cv-04726-TJSDocument
                           Document13-1   Filed
                                     1 Filed    10/09/15Page
                                              08/18/15     Page 1727
                                                             16 of of 28




JEFFREY R. LESSIN & ASSOCIATES, P.C. This is not an Arbitration Matter
BY: JEFFREY R. LESSIN, ESQUIRE       Assessment of Damages Required
I.D. #: 43801                        Jury Trial Demanded
BY: MARK T. RICHTER, ESQUIRE
I.D. #: 45195
1515 MARKET STREET, SUITE 714
PHILADELPHIA, PA 19102
215-599-1400                           ATTORNEYS FOR P LAINTIFF
SANDY RICKETTS                         : COURT OF COMMON PLEAS
514 Fifth Street                          OF PHILADELPHIA COUNTY
Somers Point New Jersey 08244
         vs.
BIEBER TIME TOURING, LLC               : JULY TERM, 2015
c/o TSG FINANCIAL MANAGEMENT, LLC
133 Peachtreet Street, Suite 4070
Atlanta, GA 30303
         and
BIEBER TIME MERCHANDISE, LLC
c/o TSG FINANCIAL MANAGEMENT, LLC
133 Peachtreet Street, Suite 4070
Atlanta, GA 30303
          and
JUSTIN BIEBER
 c/o TSG FINANCIAL MANAGEMENT, LLC
 133 Peachtreet Street, Suite 4070
Atlanta, GA 30303
           and
 PATRICIA MALLETTE
 c/o TSG FINANCIAL MANAGEMENT, LLC : No.:
 133 Peachtreet Street, Suite 4070
 Atlanta, GA 30303
                                                                                 .....................................
                    CIVIL ACTION - COMPLAINT - NOTICE TO DEFEND
                       2S - PREMISES LIABILITY- SLIP AND FALL

                                CIVIL ACTION - COMPLAINT


         1.      Plaintiff, SANDY RICKETTS, is an adult individual residing at 514 Fifth

Street, Somers Point, NJ 08244.

    2.        Defendant BIEBER TIME TOURING, LLC, is a limited partnership, partnership,




                                                                               Case 1D: 150700613
  Case 2:15-cv-04726-TJS
     Case 2:15-cv-04726-TJSDocument
                            Document13-1   Filed
                                      1 Filed    10/09/15Page
                                               08/18/15     Page 1827
                                                              17 of of 28




or other business entity, organized in the State of Delaware and doing business in the

Commonwealth of Pennsylvania, with offices, property and/or personnel located at 133

Peachtree Street, Suite 4070, Atlanta, GA 30303.

      3.     Defendant BIEBER TIME MERCHANDISE, LLC, is a limited partnership,

partnership, or other business entity, organized in the State of Delaware and doing

business in the Commonwealth of Pennsylvania, with offices, property and/or personnel

located at 133 Peachtree Street, Suite 4070, Atlanta, GA 30303.

      4.       Defendant JUSTIN BIEBER is an adult individual, residing in Stratford,

Ontario, Canada. At all times relevant hereto, JUSTIN BIEBER was an owner, manager,

officer, partner, principal or employee of the business entities known as BIEBER TIME

TOURING, LLC and/or BIEBER TIME MERCHANDISE, LLC, who regularly conducted

business in Philadelphia, Pennsylvania, and who was a signatory to a contract with AEG

LIVE, LLC, dated January 31, 2012 and amendments thereof dated December 13, 2012

and April 18, 2013, which pertained to a series of concert performances identified as "The

Justin Bieber: Believe" tour and which applied to a performance that took place at the

Wells Fargo Center in Philadelphia, Pennsylvania on July 17, 2013. Defendant JUSTIN

BIEBER is amenable to service of process at 133 Peachtree Street, Suite 4070, Atlanta,

GA 30303, c/o TSG Financial Management, LLC.

       5,   Defendant PATRICIA MALLETTE is an adult individual, residing in Stratford,

Ontario, Canada. At all times relevant hereto,     PATRICIA MALLETTE was an owner,

manager, officer, partner, principal or employee of the business entities known as BIEBER

TIME TOURING, LLC and/or BIEBER TIME MERCHANDISE, LLC, who regularly

conducted business in Philadelphia, Pennsylvania, and who was a signatory to a contract



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                            Case 2:15-cv-04726-TJS
                               Case 2:15-cv-04726-TJSDocument
                                                      Document13-1   Filed
                                                                1 Filed    10/09/15Page
                                                                         08/18/15     Page 1927
                                                                                        18 of of 28




                      with AEG LIVE, LLC, dated January 31, 2012 which pertained to a series of concert

                       performances identified as "The Justin Bieber: Believe" tour and which applied to a

                       performance that took place at the Wells Fargo Center in Philadelphia, Pennsylvania on

                       July 17, 2013. Defendant PATRICIA MALLETTE is amenable to service of process at 133

                       Peachtree Street, Suite 4070, Atlanta, GA 30303, c/o TSG Financial Management, LLC.

                                6. On July 17, 2013, Plaintiff SANDY RICKETTS was a patron and a business

                       invitee who was lawfully in the Wells Fargo Center premises in Philadelphia, Pennsylvania

                       while attending a Justin Bieber concert.

                                  7.    At all times material hereto, the Defendants acted by and through their

                       agents, servants, workmen and/or employees all of whom were acting within the scope of

                       their agency and/or authority.

                                  8.    At all times material hereto, each of the Defendants had a duty to keep the

                       aforesaid premises free of unreasonably hazardous defects and conditions and safe for

                       business invitees such as the Plaintiff.

                                  9.     On the aforesaid date, the Defendants, by and through their agents,

                       servants, workmen and/or employees, knew and/or should have known of the existence

                       of the hazardous condition of the premises as described below.
                                                                                                                                                                                           ...............
                                                           ....................................   ...........   ................ .......................................................
........................



                                  10.    On July 17, 2013, at the time of the Justin Bieber concert, there existed in the

                       walkways of the aforesaid premises, obstructions, defects and irregularities, particularly in

                           the form of electrical cables and/or wires that had been placed or strung about and across

                           the said walkways by the Defendants' agents, servants, workmen or employees that

                           created a danger, menace, nuisance, trap and/ortrip hazard to persons lawfully upon said

                           premises.



                                                                                                                                                                  Case TD: 150700613
  Case 2:15-cv-04726-TJS
     Case 2:15-cv-04726-TJSDocument
                            Document13-1   Filed
                                      1 Filed    10/09/15Page
                                               08/18/15     Page 2027
                                                              19 of of 28




       11.    On July 17, 2013, the Plaintiff, SANDY RICKETTS, was caused to trip,

stumble and fall as a result of coming in contact with the aforementioned defective and

hazardous condition then existing upon the aforesaid premises, and to suffer serious

injuries more fully hereinafter described.

                                    COUNT I
                         SANDY RICKETTS vs. DEFENDANTS

       12.    The averments of paragraphs one (1) through eleven (11), inclusive, are

incorporated herein and made a part hereof.

       13.    The Defendants, individually and/or jointly, by and through their agents,

servants, workmen and/or employees, acting in the course of their employment and within

the scope of their authority, knew or should have known of the existence of the

aforementioned defect prior to the Plaintiff's fall and the Defendants had a duty to correct,

remedy, repair, warn of and/or eliminate the said defect.

       14.    The carelessness and negligence of the Defendants consisted of the

following:

              a.     Failing to properly inspect the said premises and adjacent areas;

              b.     Failing to warn pedestrians of the dangerous condition of the walkway

                     of w hich the Defendants were aware or sh ould ha. ve been aware;
              c.     Failing to select and hire competent contractors to maintain the

                     walkways, and/or walking area in said premises;

              d.     Failing to maintain the premises and/or walkways in a condition which

                     would protect and safeguard individuals lawfully upon the premises

                     and prevent them from falling;

              e.     Allowing and causing the electrical cables or wires on the aforesaid



                                                                                   Case ID: 1 S0700613
Case 2:15-cv-04726-TJS
   Case 2:15-cv-04726-TJSDocument
                          Document13-1   Filed
                                    1 Filed    10/09/15Page
                                             08/18/15     Page 2127
                                                            20 of of 28




                premises to extend across walkways and to constitute a menace,

                danger, nuisance, trap and/or trip hazard to persons lawfully on the

                premises;

          f.    Allowing a condition to exist which was in violation of the ordinances

               of the municipality and the Commonwealth of Pennsylvania related

                to safety requirements for walking surfaces;

          g.    Failing to maintain walkways in compliance with the laws of the

                municipality and the Commonwealth of Pennsylvania;

          h.    Failing to keep the walkways free of defects obstructions and debris;

          i.    Failing to effectively clear the walkways of the above-mentioned area

                of wires, cables, folding chairs and/or debris before the arrival of

                business invitees;                                                                .

          j.    Failing to eliminate the dangerous condition and to guard or warn

                pedestrians of the hazard at the premises;

          I.    Failing to maintain the premises reasonably free from trip hazzards

                along foreseeable pedestrian paths at, near, or adjacent to the

                means of ingress and egress to the premises and its seating areas;
                             .......................................................... ......................... ............................................
          m.    Allowing a condition to exist which was in violation of the ordinances

                and/or codes of the municipality and/or the Commonwealth of

                Pennsylvania, and/or applicable national and international codes in

                relation to walkways on commercial properties and/or properties open

                to the public;

          n.    Breaching their duty to monitor the site conditions;




                                                                                                                        Case ID: 150700613
                         Case 2:15-cv-04726-TJS
                            Case 2:15-cv-04726-TJSDocument
                                                   Document13-1   Filed
                                                             1 Filed    10/09/15Page
                                                                      08/18/15     Page 2227
                                                                                     21 of of 28




                                               o.          Failing to perform reasonable and timely site inspections; and

                                               p.          Failing to appropriately provide ushers or security personnel to assist

                                                           concert goers who were heading toward their seats.

                                  15.          By reason of the aforesaid negligence of the Defendants as stated above,

                     the Plaintiff, SANDY RICKETTS, suffered severe and permanent injuries to her person,

                      including but not limited to: left scaphoid fracture; a laceration of her lower lip requiring

                      surgical repair; contusions and sprains of her left wrist and hand; injuries to her teeth;

                      nervous shock and aggravation and/or exacerbation of all known and unknown preexisting

                      medical conditions. The Plaintiff, SANDY RICKETTS , suffered severe aches pains,

                      mental anxiety and anguish, and a severe shock to her entire nervous system, and other

                      injuries the full extent of which are not yet known. She has in the past and will in the future

                      undergo severe pain and suffering and will in the future be unable to attend to her usua!•

                      duties and occupation, all to her great financial detriment and loss. The Plaintiff, SANDY

                      RICKETTS, believes and therefore avers that her injuries are permanent in nature.

                                   16.         As a result of the aforesaid occurrence, the Plaintiff, SANDY RICKETTS, has

                      been compelled, in order to effectuate a cure for the aforesaid injuries, to expend large

                    sums of money for surgeries, medicine, therapy and medical attention and maybe required
..................................... .......................................................................................................... .......................................... ..................
                    to expend additional sums for the same purposes in the future.

                                   17.         As a result of the aforesaid occurrence, the Plaintiff, SANDY RICKETTS, has

                      been prevented from attending to her usual and daily activities and duties, and may be so

                      prevented for an indefinite time in the future, all to her great financial detriment and loss.

                                   18.          As a result of the aforesaid occurrence, the Plaintiff, SANDY RICKETTS, has

                      suffered physical pain and mental anguish and humiliation and she may continue to suffer



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 Case 2:15-cv-04726-TJS
    Case 2:15-cv-04726-TJSDocument
                           Document13-1   Filed
                                     1 Filed    10/09/15Page
                                              08/18/15     Page 2327
                                                             22 of of 28




same for an indefinite period of time in the future.

       WHEREFORE, Plaintiff, SANDY RICKETTS, demands damages of the Defendants,

jointly and severally herein, in a sum in excess of FIFTY THOUSAND ($50,000.00)

DOLLARS, plus costs.


                                               JEFFREY R. LESSIN & ASSOCIATES, P.C.


                                         BY:    J       ojR .LEgin
                                                  JEFFREY R. LESSIN, ESQUIRE
                                                  MARK T. RICHTER, ESQUIRE
Date: July 7, 2015                                Attorneys for Plaintiff




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Case 2:15-cv-04726-TJS
   Case 2:15-cv-04726-TJSDocument
                          Document13-1   Filed
                                    1 Filed    10/09/15Page
                                             08/18/15     Page 2427
                                                            23 of of 28




             EXHIBIT "B"
  Case 2:15-cv-04726-TJS
     Case 2:15-cv-04726-TJSDocument
                            Document13-1   Filed
                                      1 Filed    10/09/15Page
                                               08/18/15     Page 2527
                                                              24 of of 28




                                  AFFIDAVIT OF VICTORIA FREEDMAN

        Victoria Freedman, being sworn according to law, deposes and sayo. as flic.: ✓vs:


        1          She is an adult individual and Paralegal for the law firm of Ef' ;
Lessin & Associates. P.C.


        2.         On July 15, 2015 she did place into the USPS mailbox located at the
concourse level of 1515 Market Street, Philadelphia, PA mail a true and correct time
stamped copy of Plaintiff's Complaint to Defendant, Patricia Mallette C/o TSG Financial
Management, LLC. at 133 Peachtreet Street, Suite 4070 Atlanta, GA 30303, via certified
mail, No. 7012 2920 0000 6706 5274 A true and correct copy of the transmittal letter is
attached hereto as Exhibit A.
        3.         According to the green return card attached hereto, Plaintiffs Complaint was
delivered to Defendant on July 20, 2015. See Exhibit B


        That she has read the above statement and they are true and correct to the best
of her knowledge, information and belief.


Swop to me this 24`h day of July, 2015



Notary Public                                   VICTORIA FREEDMAN
                                                JEFFREY R. LESSIN & ASSOCIATES, P.C.
My Commission Expires:                          July 24, 2015




                  NOTARIAL SEAL
                MARIA GONZALEZ
                   Notary Public
     PV11LA0tLPH ,1A CITY PHILAOELPN(A C ~f7Y
                mmsion Expires Feb 2, 2016
   [
  Case 2:15-cv-04726-TJS
     Case 2:15-cv-04726-TJSDocument
                            Document13-1   Filed
                                      1 Filed    10/09/15Page
                                               08/18/15     Page 2627
                                                              25 of of 28




                                AFFIDAVIT OF VICTORIA FREEDMAN

        Victoria Freedman, being sworn according to law, deposes and says a: f licvvs:


        1.       She is an adult individual and Paralegal for the law firm of   :e ;

Lessin & Associates, P.C.


        2.       On July 15, 2015 she did place into the USPS mailbox located at the
concourse level of 1515 Market Street, Philadelphia, PA mail a true and correct time
stamped copy of Plaintiff's Complaint to Defendant, Bieber Time Merchandise, LLC. c/o

TSG Financial Management, LLC. at 133 Peachtreet Street, Suite 4070 Atlanta, GA
30303, via certified mail, No. 7012 2920 0000 6706 5250 A true and correct copy of the
transmittal letter is attached hereto as Exhibit A.
        3.       According to the green return card attached hereto , Plaintiffs Complaintwas
delivered to Defendant on July 20, 2015 . See Exhibit B


        That she has read the above statement and they are true and correct to the best

of her knowledge, information and belief.


Sworn to me this 241 day of July, 2015


Notary Public                               VICTORIA FREEDMAN
                                            JEFFREY R. LESSIN & ASSOCIATES, P.C.
My Commission Expires:     9        ✓       July 24, 2015




              NOTARIAL SEAL
             MARIA GONZALEZ
               Notary Public
   PHILADELPHIA CITY, PHIl:ADELPHIA CNT'v
     My Com fission Expires reb 2, 2016




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      Case 2:15-cv-04726-TJS
         Case 2:15-cv-04726-TJSDocument
                                Document13-1   Filed
                                          1 Filed    10/09/15Page
                                                   08/18/15     Page 2727
                                                                  26 of of 28




                                   AFFIDAVIT OF VICTORIA FREEDMAN

          Victoria Freedman, being sworn according to law, deposes ancaysa..f.;!Iows;.


           1.       She is an adult individual and Paralegal for the law firm of,.;'.
Lessin & Associates, P.C.


          2.        On July 15, 2015 she did place into the USPS mailbox located at the
concourse level of 1515 Market Street, Philadelphia, PA mail a true and correct time
stamped copy of Plaintiff's Complaint to Defendant, Bieber Time Touring, LLC. c/o TSG
Financial Management, LLC. at 133 Peachtreet Street, Suite 4070 Atlanta, GA 30303,
via certified mail ! No.            7012 2920 0000 6706 5243 A true and correct copy of the
transmittal letter is attached hereto as Exhibit A.
           3.       According to the green return card attached hereto, Plaintiffs Complaint was
delivered to Defendant on July 20, 2015. See Exhibit B


          That she has read the above statement and they are true and correct to the best
of her knowledge, information and belief.


Sworn to me               day of July, 2015        ;
                trs?4th

-*-              .-.
Notary Public                                    VICTORIA FREEDMAN
                                                 JEFFREY R. LESSIN & ASSOCIATES, P.C.
 My Commission Expires:      L2L2/L'             July 24, 2015



                  NOTARIAL SEAL
                 MARft, GONZALEZ
                    Notary Public
       PfIILAOFLPHIA CITY PHIIAQELPHIA ONTY
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                                               08/18/15     Page 2827
                                                              27 of of 28




                                   AFFIDAVIT OF VICTORIA FREEDMAN

        Victoria Freedman, being sworn according to law, deposes and.


        1.      She is an adult individual and Paralegal for the law firm offfi'.'.

Lessin & Associates, P.C.


        2.      On July 15, 2015 she did place into the USPS mailbox located at the
concourse level of 1515 Market Street, Philadelphia, PA mail a true and correct time
stamped copy of Plaintiff's Complaint to Defendant, Justin Bieber c/o TSG Financial
Management, LLC. at 133 Peachtreet Street, Suite 4070 Atlanta, GA 30303, via certified

mail, No. 7012 2920 0000 6706 5267 A true and correct copy of the transmittal letter is
attached hereto as Exhibit A.
       3.    According to the green return card attached hereto, Plaintiffs Complaintwas
delivered to Defendant on July 20, 2015. See Exhibit B


        That she has read the above statement and they are true and correct to the best

of her knowledge, information rnd belief.


Swïto me this 24th day of July, 2015



Notary Public                                   VICTORIA FREEDMAN
                                                JEFFREY R. LESSIN & ASSOCIATES, P.C.
 My Commission Expires:       2LL3/C,           July 24, 2015



                  NOTARIAL SEAL
                 MARIA GONZALEZ
    I       C
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                   Notary Public
                   CITY, PHILADELPHIA CN
         MY      sslon Expires Feb 2. 2016




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